                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA


  ELECTRIC INSURANCE COMPANY,                       )
                                                    )
         Plaintiffs,                                )
                                                    )           No. 1:11-CV-261
  v.                                                )           Chief Judge Curtis L. Collier
                                                    )
  DAVID MICHAEL, et al.,                            )
                                                    )
         Defendants.                                )

                                           ORDER

                 Counsel for the parties have advised the Court that the matters in controversy have

  been settled to the satisfaction of all the parties. It is accordingly ORDERED that all counsel shall

  appear in person before the United States District Judge on Friday, June 22, 2012 at 10:00 a.m.,

  for a conference with regard to the status of the settlement and a final order.

                 In the event a final order is submitted prior to June 22, 2012, counsel shall contact

  Sheila Hendrix (423-752-5287) and the status conference will be canceled.


                 SO ORDERED.

                 ENTER:



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




Case 1:11-cv-00261-CLC-WBC Document 20 Filed 06/13/12 Page 1 of 1 PageID #: 200
